Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 1 of 18




          EXHIBIT 41
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 2 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1    Call Date: 2018-10-15

2     Call Duration: 11:18

3     Call Begin: 17:45:46

4     Participants

5          JOHN WILSON

6          RICK SINGER

7    File Name:       9163848802 2018-10-15 17-45-46 10126-001

8

9

10     SINGER:    John. How are ya?

11     WILSON:    Hey, Rick.    Doin' well.          And yourself?

12     SINGER:    It's Id-- you're goin' in and out. Sorry.

13     WILSON:    [OV/IA] I got a bad, uh, [IA]. It's just a--

14     SINGER:    Where are you at?
                    (inaudible)
15     WILSON:    In Houston, they got a big thunderstorm goin'

16                through. Can you hear me better here?

17     SINGER:    Yeah, I can hear you better.

18     WILSON:    Uh...

19     SINGER:    That's much better

20     WILSON:    Uh, you're pretty busy these days, huh?

21     SINGER:    Yep. We got early decision comin' up.

22     WILSON:    [laughter]

23     SINGER:    Uh, you're gonna be goin' through the same thing,

24                so...




                                       1                                    91-41
                                                               USAO-VB-01720580


                               EX. 578A p. 1 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 3 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1      WILSON:   Oh, I know, next year, exactly. So, hey, uh, there

2                were a couple topics. One was, ya know, my

3                daughters, and, uh, making some donations now,

4                whatever -- how that can work. And then, second, I

5                do wanna give some time [UI] talk a bit about your

6                overall, you know, pricing strategy and your

7                economic model if you want that. I don't want to

8                force it on you But I just think -

9      SINGER:   [OV] No, no. So, yeah. So le-

10     WILSON:   -- could be helpful.

11     SINGER:   -- well, let's -- let's start with number one. So,

12               what would be great is... You know, w-- I have a

13               bunch of schools that we work with directly. And, you

14               know, it's kind of a first serve-- firs-first come,

15               first served.    Right? So like I have

16               opportunity with Stanford in sailing.          And I can do

17               other Stanford sports potentially too.         And we have

18               Yale and we have Harvard. And then I can go after

19               all these other schools too.          But, of course, I don't

20               know what the girls want.

21     WILSON:   Right. Well, help me understand where you

22               have first come, first serve and, that -So, you

23               have, as you said, Stanford, sailing.

24     SINGER:   Stanford, sailing.         Got Yale, soccer, um, Harvard -




                                        2

                                                                 USAO-VB-01720581


                                 EX. 578A p. 2 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 4 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1      WILSON:   [OV] They probably wouldn't want Yale.    Harvard?

2                What, uh -- what do you have at Harvard?

3      SINGER:   Harvard, we could do multiple sports. I just need to

4                go to them. I could actually even go to Y-- uh, you

5                don't want Yale, because you thought that they were

6                too what? Too conservative or they were too liberal?

7      WILSON:   Too liberal. [laughter]

8      SINGER:   OK.   I don't know which -- I don't know which side of

9                the room, uh, you know, you -- you come from. So.

10               uh, you know, we could do Stanford. We can do,

11               obviously USC with anything. Right? So that's an

12               easy one.

13     WILSON:   How 'bout UCLA?

14     SINGER:   UCLA, I could do the same thing.

15     WILSON:   And what about, um - Got, uh, multiple

16               there. And what about the, um -- uh, Georgetown?

17     SINGER:   Uh, for where?

18     WILSON:   Georgetown?

19     SINGER:   Georgetown, we could do the same thing. Yep.

20     WILSON:   Lots of multiple opportunities.

21     SINGER:   Yeah.

22     WILSON:   So Stanford only has 1 or 2. Just sailing? Is that

23               about it?

24     SINGER:   Um, so, uh, usually I can go t- sailing, I can go to




                                      3

                                                            USAO-VB-01720582


                               EX. 578A p. 3 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 5 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1                the crew coach, 'cause I'm friendly with her, um and

2                we can, you know, d-- always do women's lacrosse. And

3                again, ya know, they don't have to play. They just -

4                I just-- that's the path I'm gonna get 'em in on.

5      WILSON:   Gotcha. And what about Harvard? Crew, sailing.

6                Anything else?

7      SINGER:   Um, sailing, crew, sometimes tennis. The key to here

                 is that, if I were to get a deposit, 1-- you know,

9                like, uh, uh, half a million dollars in the bank,

10               then it's -- ya know, we can figure out where they

11               wanna go. So what I'd like to do is- I'm gonna be in

12               town on November 1st and 2nd. If you can start

13               probin' with the girls as to potentially their -

14               what they're thinking, then we -- you and I could -

15               if you're -- if you can be in town one of those days

16               -- I think it's a Thursday, Friday -- and we could

17               talk face-to-face, then we could figure out, OK, what

18               are we gonna go after. So if anybody asks me for like

19               a Stanford spot and we're not sure yet, then I can

20               call you and say, "Hey, somebody wants that spot and

21               I only have 1," or "I'm gonna get a second one," or

22               whatever. But having the money already, in advance,

23               makes it much easier. Because I gotta go with

24               whoever's gonna ante up.




                                      4

                                                            USAO-VB-01720583


                               EX. 578A p. 4 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 6 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1      WILSON:   Yeah. And who do we make these, uh, checks out to?

2                And, uh, what's, uh        uh, what's your foundation?

3                Do you have a whole wiring -- send me an email with

4                all your wiring and all, uh...?

5      SINGER:   Yeah. I can send ya a email with all the wiring

6                instructions. And then g- um, your check will be

7                - going to our foundation's account.

8      WILSON:   Right, it goes to your foundation, right.

9      SINGER:   Yes.

10     WILSON:   Uh, uh, do you have mul-? So you have mutiples,

11               at Harvard and Stanford and, uh -

12     SINGER:   Correct.

13     WILSON:   You have multiples everywhere, it sounds like.

14     SINGER:   Correct.

15     WILSON:   And they don't actually have to do that sport,

16               you're saying. They could just go in and -

17     SINGER:   Correct.

18     WILSON:   -be like the, uh - the scorekeeper or -

19     SINGER:   Corre-

20     WILSON:   -- water boy, water girl.

21     SINGER:   Manager or whatever you want to call 'em. Yeah.

22     WILSON:   Uh, manager, those things. OK. And you can do 2 at 1

23               school, as well. You could do 2 at, uh...?

24     SINGER:   It's more difficult to do. That's why it depends on




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                                                             USAO-VB-01720584


                               EX. 578A p. 5 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 7 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1                where it is. And the earlier I know, then that gives

2                 me a chance to go after it. 'Cause I'll have to

3                 solicit, uh--

4      WILSON:   [OV] let's say it's 2 at either Stanford or Harvard.

5      SINGER:   So then, uh -

6      WILSON:   [OV] Are those impossible or-

7      SINGER:   No, it's not impossible, absolutely not. It's just

8                matter of I just need to know that I go-- I gotta

9                start doin' my work now on that. So by you makin' the

10               deposit, it makes it easier for me, because I know I

11               g-- uh, because what they're gonna first say to me -

12               If I go to them - And let's say we're doin' 2 girls

13               in 1 place. Then they're gonna say to me, uh, "We're

14               gonna give up a spot for you. Are you are you

15               guaranteeing me that's she's comin'? And is the

16               family guaranteeing me that they're gonna ante up and

17               they're gonna make a payment?" Because they don't

18               want to give up a spot. And the earlier I do it, the

19               better.

20     WILSON:   Gotcha. So, yeah, uh, what about Princeton? They have

21               multiples too?

22     SINGER:   1. Usually, I could try to get a second, but it's

23               more difficul-

24     WILSON:   Only 1 at Princeton. OK.



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                                                            USAO-VB-01720585


                                 EX. 578A p. 6 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 8 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1      SINGER:   Yeah.

2      WILSON:   And same kinda deal, any sport? You don't have to

3                really play the sport?

4      SINGER:   That's correct.

5      WILSON:   And you can do that -- you can also get some kinda

                 chair things too, if you don't do the sport?

7      SINGER:   Uh -

8      WILSON:   Or, uh, sport is much easier?

9      SINGER:   Um, yeah, the - It jus-- well, like it depends on

10               the school. To go after a dean is a little more

11               difficult. With your girls, because they're athletic

12               and they're big and all of that, I can sell to

13               anybody that they're athletic enough to be able to

14               take 'em and there'll be no question.

15     WILSON:   Yeah. Their size and everything else, uh - So

16               they- Yeah.

17     SINGER:   Correct.

18     WILSON:   Even though they wouldn't play. OK.

19     SINGER:   [OV] Correct.

20     WILSON:   And Brown? Is, uh, Brown also 2? Or wh-?

21     SINGER:   Brown's an option too. Yeah, sure.

22     WILSON:   A couple of 'em. OK>

23     SINGER:   Yeah.

24     WILSON:   Uh, and those are all - except for like UCLA and




                                        7

                                                            USAO-VB-01720586


                                 EX. 578A p. 7 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 9 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1                USC -? Those are like the 350 and the other ones

2                gonna be like 1,000,000 or whatever?
                                   big
3      SINGER:   Yeah. The - the bog boys are gonna cost you over

4                1,000,000. And, uh, probably - if I know early

5                Enough, I could probably get it done at 1.5 for both

6                girls.      Uh, I just need to -- I need to push now.

7      WILSON:   OK.    So, yeah, I can get ya more now, if that helps

8                you and makes everything certain.        Um, so I'll give

9                you at least half. Maybe I can get ya 3/4 of a

10               million now, if that makes it like, you know, more

11               certain and you're gonna say -

12     SINGER:   OK.

13     WILSON:   -[IA] done, that's a better way to do it, for you.

14     SINGER:   Uh -

15     WILSON:   It makes it better -- you're saying better with the

16               schools, everything, it's much better to get it -

17     SINGER:   [OV] We-- uh, th-the -

18     WILSON:   -- [OV] as a guarantee.

19     SINGER:   -- the amount, uh, that doesn't ma-matter right now.

20               It matters you're committed.         And you putting down

21               some money, th-that I know -         John, I kn-- known you

22               for years. So I know when we get the girls in, it's a

23               done deal and you're gonna take care of your part of

24               it, you're gonna make the payments to the schools and




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                                                                USAO-VB-01720587


                                EX. 578A p. 8 of 17
     Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 10 of 18



       9163848802 2018-10-15 17-45-46 10126-001


 1                the -- to the coaches. And that's what I need-

 2                that's--tha-- so I'm not worried about that.

3      WILSON:    Uh, uh, help me understand the logistics?      I

4                 thought I make the payment to you and you make the

5                 payment to the schools.

6      SINGER:    Correct. That's correct.

7      WILSON:    Oh, you said / make the payment to the schools.

8                 You're-

9      SINGER:    [OV] Well, no, no.

10     WILSON:    You're [IA]...

11     SINGER:    Uh, essentially, uh, it's gonna come to my

12                foundation - That's correct.

13     WILSON:    And you pay. Right, right. OK.

14     SINGER:    That's correct.

15     WILSON:    Now, um, uh, how does that actually wor--? What if

16                they don't actually get in?        [UI]

17     SINGER:    Oh, no, no, no. Y-you don't have to worry about it.

18                They're -- it's g-- it's a done deal. And I'll know

19                beforehand if it's gonna be done or not.

20      WILSON:   M-hum.

21      SINGER:   [OV] But, uh -

22      WILSON:   [OV] When will you know

23      SINGER:   -- [OV] see, uh -

24      WILSON:   -- [OV] in the summer of next year?




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                                                             USAO-VB-01720588


                               EX. 578A p. 9 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 11 of 18



     9163848802 2018-10-15 17-45-46 10126-001


1     SINGER:   -- I need a score.     See? That's why I need their

2               grades and scores.     And that's wh--

3     WILSON:   Yeah. They get PSATs. And they just took the PSATs.

4     SINGER:   Correct.   And then I need the real scores. That

5               would be -- that's gonna -- that's gonna be able to

6               tell me how easy it is to -- to flow it through or

7               not. And I'm—hopefully both girls get the

8               same or something similar to each other.

9     WILSON:   They've gotten pretty similar scores all along, plus

10              and minus math and English, that kinda stuff.

11    SINGER:   Right.

12    WILSON:   Yeah.

13    SINGER:   Right.

14    WILSON:   As long as, you know, like you can - 1300 or so, is

15              that OK?

16    SINGER:   Correct.

17    WILSON:   Is it -

18    SINGER:   Yes. Yeah.

19    WILSON:   -1300 plus? OK.

20    SINGER:   Yeah.

21    WILSON:   Now, do you ha- when you say you need to know, do you

22              have to actually have picked the school by when too

23              that it's - OK, it's 2 to Stanford, 2 at Harvard or

24              1 in each -




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                                                           USAO-VB-01720589


                              EX. 578A p. 10 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 12 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1     SINGER:   Well, uh, late -

2     WILSON:   - 1 in USC, or -?

3     SINGER:   - so I need that late spring.

4     WILSON:   So late spring only. OK.

5     SINGER:   Right. And you guys are gonna visit the schools by

6               then. You'll have so much fun, uh.

7     WILSON:   [OV] Yeah, yeah. They're g-- they haven't gone to

8               these place-- they've been to some of them.

9     SINGER:   Correct.

10    WILSON:   But they need to go to them, look at 'em. And, does

11              it matter if they go to them and look at the - an-

12              and have this whole tour, with the school knowing, or

13              just go and look at themselves?

14    SINGER:   No, uh.    It's a -

15    WILSON:   [OV/UI] suck up to the dean?

16    SINGER:   --[UI] regular tour -- regular       regular tour.

17    WILSON:   OK.   Do those have to be done durin' the week too?

18              They can't do 'em -

19    SINGER:   Yeah.

20    WILSON:   -- on a weekend really?

21    SINGER:   Yeah. The weekends -- you know, because they don't

22              have the same energy.

23    WILSON:   No, no. I understand that. But I meant for the

24              school, to meet with the whatever, faculty -- or not




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                                                           USAO-VB-01720590


                              EX. 578A p. 11 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 13 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1               the facu-- but the...

2     SINGER:   Well, they d-- they're just gonna go on a regular

3               tour. They're not gonna meet the faculty anyways.

4     WILSON:   I mean, see the class, I meant not meet the faculty

5               but see the classrooms.

6     SINGER:   [OV] Well, if we have kids that go there. We can set

7               it up with 'em. If I don't kids that go to 'em, they

8               don't go see classes. People don't--

9     WILSON:   [OV] Oh, they do not.         They just go on a tour --

10    SINGER:   No.   People are worried --

11    WILSON:   -- of campus by --

12    SINGER:   -- about all that.     Yes.

13    WILSON:   -- admissions? OK. So it's admissions tour, not like

14              a classroom tour?

15    SINGER:   Correct.

16    WILSON:   OK.

17    SINGER:   Correct. Unless I have kids there.

18    WILSON:   Gotcha. OK. So if I do it early on, you might even

19              get, you said, 2 -- uh, 2 of the top ones for 1

20              and a half million combined?

21    SINGER:   Correct.

22    WILSON:   And does it really matter, though, if it's 2 at 1 or,

23              uh, not?

24    SINGER:   It doe--




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                                                             USAO-VB-01720591


                              EX. 578A p. 12 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 14 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1     WILSON:    [OV] Ho-how much did you...?

2     SINGER:    [OV] It makes it ea-- it makes it easier if it

3                isn't. But it can be done.

4     WILSON:    It could be done. OK. And you're pretty confident

5                right now, at--and all those top schools, you could

6                get something done, as long as they get --

7     SINGER:    [OV] Yeah.

8     WILSON:    -- [OV] a test score of [09:00] 1300.

9     SINGER:    Because I'm -- I'm usin' up my spot now. And then

10               you have the next year early.

11    WILSON:    OK. Great. And then, uh- You only have like 1 or

12               2 spots in each of these places, though, you're

13               saying.

14    SINGER:    Correct.

15    WILSON:    Or, y- uh, you have several, depending on the sport,

16               you were s- uh, 'cause like -

17    SINGER:    Well, it depends.

18    WILSON:    - Harvard, you can a couple -

19    SINGER:    Uh, uh -

20    WILSON:    - both crew and saili-

21    SINGER:    Well, John, it uh - it depends on boy or girl, all

22               of that, right? Because -

23     WILSON:   But I'm saying 2 girls.

24     SINGER:   -- [UI] Yeah, usually 2 girls.




                                     13
                                                           USAO-VB-01720592


                              EX. 578A p. 13 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 15 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1     WILSON:   So my two--you can get a couple girls in each year,

2               to these places. And they may -

3     SINGER:   Correct.

4     WILSON:   -- take both of those spots.

5     SINGER:   Correct.

6     WILSON:   OK.   Sound like you got 20 spots.   You may only have

7               2.

8     SINGER:    No. No, uh, right. [laughter] You're crazy.

9     WILSON:    No. It's why you need to charge a bigger premium, my

10               friend.

11    SINGER:    I got it. Well, we'll have that discussion in, in,

12               uh, November. How's that?

13    WILSON:    OK. And that sounds great. So I w- I will get you -

14               Send me an email with where you need to send these

15               funds. And so you don't care. Half a million,

16               whatever, is good, 34 of a million, doesn't really

17               matter, you're saying, just send something to you.

18    SINGER:    Correct.

19    WILSON:    And then, uh --uh, then you know we're locked in for

20               2.   We don't know where yet.

21    SINGER:    Correct.[OV]

22    WILSON:    We'll determine that a little bit later in the year,

23               maybe November. So you have your dates? Is it 1 and

24               2, for sure? What is your schedule?




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                                                           USAO-VB-01720593


                              EX. 578A p. 14 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 16 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1     SINGER:    Excuse me?

2     WILSON:    The dates [IA] --

3     SINGER:    [OV] Yeah. November --

4     WILSON:    -- [OV] come back to Boston, uh.

5     SINGER:    -- [OV] 1st and 2nd. Yeah. November 1st and 2nd -

6                it's a Thursday, Friday -- I'll be -

7     WILSON:    OK. Yeah. Right now we were plannin' on being out of

8                town, damn it. We're gonna be in Europe. Uh, when's

9                the next time you're in, uh, Boston?

10    SINGER:    Uh, I'll have to figure that out. I'll let you know,

11               though.

12    WILSON:    OK. My girls'll be in town.          But w-- Leslie and I

13               will be out, yeah.

14    SINGER:    OK. Gotcha.

15    WILSON:    All right. Oh, by the way, you should mark your

16               calendar for next Ju-July, if you want, in, uh,

17               Paris. Got a big birthday, July, 18 and 19.

18    SINGER:    OK.

19    WILSON:    I rented out Versailles.

20    SINGER:    Oh, my God.     You're crazy.

21    WILSON:    [laughter] I know. A black-tie party there. So

22               you'll have to come.

23    SINGER:    Uh -

24    WILSON:    Anyway. Uh, I will -- I'll get you -- uh, I'll




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                                                                USAO-VB-01720594


                               EX. 578A p. 15 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 17 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1                parti-

2     SINGER:    [OV] I'll send you the -- I'll send you the w-- uh,

3                information about the bank and the wiring stuff, uh,

4                probably in the next day or so.

5     WILSON:    OK. That's great.     It's good to hear that earlier is

6                better.

7     SINGER:    Yep.

8     WILSON:    I'm glad we had this conversation. And then I'll

9                have the girls run a filter, over the next few

10               weeks. Uh, they could meet with you in November

11               without us. Is that OK? Or would you -

12    SINGER:   Sure.

13    WILSON:   -want [UI] with us?

14    SINGER:   Absolutely.

15    WILSON:   OK.

16    SINGER:   Absol-

17    WILSON:   So I'll have the girls plan on meeting you sometime

18              November 1 and 2. Let me know the next time you're

19              [IA].

20    SINGER:   Will do.

21    WILSON:   Yeah. I'd be happy to help you with your business

22              mode. So I think you're leaving a lotta money on

23              table.

24    SINGER:   I know y- I know that. We'll have that discussion.




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                                                           USAO-VB-01720595


                              EX. 578A p. 16 of 17
    Case 1:19-cr-10080-LTS Document 2719-41 Filed 08/15/23 Page 18 of 18



      9163848802 2018-10-15 17-45-46 10126-001


1     WILSON:   OK. So the g-

2     SINGER:   All right, John.

3     WILSON:   Uh -

      SINGER:   Thanks.

5     WILSON:   Take, care -

6     SINGER:   OK. Bye-bye.

7                         END OF AUDIO FILE




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                                                           USAO-VB-01720596


                                EX. 578A p. 17 of 17
